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GAS 245B (Rev. 06/21) Judgment in a Criminal Case
DC Probation

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 
 

 

 

DUBLIN DIVISION a
ULE. lc tae
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE“.
v. )

Xavier Simmons )
) Case Number: 3:21CR00009-1
USM Number: — 20089-509
) Tina Euginia Maddox

Defendant's Attorney

THE DEFENDANT:

IX] pleaded guilty to Count 1
CJ] pleaded nolo contendere to Count(s) which was accepted by the court.
C) was found guilty on Count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 4 Misprision of a felony March 17, 2018 l
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on Count(s)

Counts | and 67 of Indictment 3:20CR00003 are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay

restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

October 29, 2021

Date of Imposition of Judgment

Signature of Judge

Dudley H. Bowen, Jr.
United States District Judge
Name and Title of Judge

   

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Date
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DEFENDANT: Xavier Simmons
CASE NUMBER: 3:21CRO0009-1

PROBATION

You are hereby sentenced to probation for a term of: 5 years.
MANDATORY CONDITIONS

L; You must not commit another federal, state, or local crime.

2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C] The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
substance abuse. (Check, if applicable.)

(] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of

restitution. (Check, ifapplicable.)
] You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

6. (] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)

7, (] You must participate in an approved program for domestic violence. (Check, if applicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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DEFENDANT: Xavier Simmons
CASE NUMBER: 3:21CR00009-1

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the
time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how

and when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission

from the court or the probation officer,

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
the probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything
that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a
nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting permission from the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
the person and confirm that you have notified that person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

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U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature Date

 

 
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DEFENDANT: Xavier Simmons
CASE NUMBER: 3:21CR00009-1

SPECIAL CONDITIONS OF SUPERVISION

1. You shall own, use, or possess only one cellular or mobile telephone. You are specifically prohibited from possessing any
burner phone, temporary phone, or loaner phone that does not produce a monthly bill that would indicate all telephone calls or
texts made by you. You must consent that your single cellular telephone will be subject to examination, search, and inspection,
by your supervising officer so that any material for which the phone is utilized, to include any phone calls, text messages, and
social media applications, will be available to the inspector or examiner to the extent necessary for that examination, search
and inspection. *

to

You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to
obstruct or tamper with the testing methods.

3. You must provide the probation officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the U.S. Attorney's Office.

4. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, to a search conducted by a United States
probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

5. A curfew is imposed as a special condition of supervision. You must comply with the conditions of a curfew from 10:00 p.m.
until 6:00 a.m. for the period of supervision. During this time, you will remain at your place of residence at all times and shall

not leave except when such leave is approved in advance by the probation officer.

6. You are prohibited from owning, keeping, or training any dogs and from engaging in any activity involving dogs or in animal
fighting of any kind.

7. You are prohibited from any intentional contact with any of the defendants in the related cases of the Indictment
(3:20CR00003).

*The consent of the Defendant to this condition was stated in open court on October 29, 2021, and is also memorialized upon

a copy of this Judgement on the day of 2021, by his signature below.

 

Xavier Simmons, defendant
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DEFENDANT: Xavier Simmons
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

Assessment Restitution Fine AVAA* JVTA Assessment**
TOTALS $100 N/A $1,000 N/A N/A
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.
CL] ~The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ $

CL] Restitution amount ordered pursuant to plea agreement $_

CO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(1) The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(J the interest requirement is waived forthe [fine (restitution.

[j the interest requirement for the L) fine (restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No.114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, L10A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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DEFENDANT: Xavier Simmons
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum payment of $ 100 due immediately, balance due

(1) notlaterthan _ or
inaccordance ([] C, [—] D, (9 E,or F below; or

B  ([] Payment to begin immediately (may be combined with Oc, ( D, or C] F below); or

C  [() Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F  & Special instructions regarding the payment of criminal monetary penalties:

While on probation, the defendant shall make minimum monthly payments of $50 over a period of 20 months. Payments are
to be made payable to the Clerk, United States District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

1 Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

LO

The defendant shall pay the cost of prosecution.
C1 The defendant shall pay the following court cost(s):

x The defendant shall forfeit the defendant’s interest in the following property to the United States: Any property seized in connection
with this case.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,

(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
